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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

 THOMAS D. ARTHUR,                     )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )       CASE NO. 2:11-CV-438-WKW
                                       )
                                       )
JEFFERSON S. DUNN, et al.,             )
                                       )
      Defendants.                      )

                                     ORDER

      In light of the Memorandum Opinion and Order entered this same date, it is

ORDERED that

      (1)    Plaintiff’s Motions in Limine regarding the testimony of Dr. Roswell

Lee Evans, Daniel E. Buffington, and Dr. Carl E. Harper (Docs. # 300, 301, 302) are

DENIED AS MOOT and

      (2)    Defendants’ Motions in Limine regarding lay witnesses D. Baich, D.

Sanderford, E. Sheffer, and L. Hammer (Docs. # 307, 308) are DENIED AS MOOT.

      DONE this 19th day of July, 2016.

                                          /s/ W. Keith Watkins
                                CHIEF UNITED STATES DISTRICT JUDGE
